     5:16-cv-10796-JCO-MKM Doc # 136 Filed 02/07/17 Pg 1 of 5        Pg ID 6268




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

MYIA MCMILLIAN, et al.,

      Plaintiffs,
                                             Case No. 16-10796
v.
                                             Hon. John Corbett O’Meara
GOVERNOR RICHARD DALE
SNYDER, et al.,

     Defendants.
___________________________/



                            OPINION AND ORDER

      Before the court are several motions to dismiss Plaintiffs’ first amended

class action complaint. For the reasons explained below, Defendants’ motions to

dismiss are granted.

                            BACKGROUND FACTS

      This action arises out of the contamination of drinking water in Flint,

Michigan. Plaintiffs allege several causes of action against multiple defendants,

including City of Flint and State of Michigan officials and engineering firms that

provided services to the City. Plaintiffs’ first amended complaint alleges the

following causes of action: Count I, violation of the Safe Drinking Water Act;

Count II, violation of the Safe Drinking Water Act; Count III, violation of 42
      5:16-cv-10796-JCO-MKM Doc # 136 Filed 02/07/17 Pg 2 of 5         Pg ID 6269




U.S.C. § 1983, substantive due process, state created danger; Count IV, violation

of § 1983, substantive due process, bodily integrity; Count V, negligence; Count

VI, intentional infliction of emotional distress; Count VII, negligent infliction of

emotional distress; Count VIII, inverse condemnation under Michigan

Constitution; Count IX, nuisance; Count X, trespass; Count XI, unjust enrichment;

Count XII, strict liability; Count XIII, gross negligence; Count XIV, “proprietary

function” in avoidance of governmental immunity; and Count XV, professional

negligence. Defendants seek dismissal of the amended complaint.

                              LAW AND ANALYSIS

I.     Preclusion of § 1983 Claims

       As this court has determined in two other Flint water contamination cases,

Plaintiffs’ constitutional claims brought pursuant to 42 U.S.C. § 1983 are

precluded by the Safe Drinking Water Act. See Boler v. Earley, No. 16-10323,

Docket No. 56 (E.D. Mich., O’Meara, J.); Mays v. Snyder, No. 15-14002, Docket

No. 196 (E.D. Mich., O’Meara, J.). Plaintiffs’ § 1983 claims are indistinguishable

from the claims this court found to be precluded by the SDWA in Boler and Mays.

Accordingly, the court will dismiss Plaintiffs’ § 1983 claims.

II.    Safe Drinking Water Act Claims

       Defendants contend that Plaintiffs’ SDWA claims should be dismissed


                                          -2-
    5:16-cv-10796-JCO-MKM Doc # 136 Filed 02/07/17 Pg 3 of 5            Pg ID 6270




because they have not complied with the statute’s jurisdictional requirements. The

SDWA provides:

             No civil action may be commenced--

             (1) under subsection (a)(1) of this section respecting
             violation of a requirement prescribed by or under this
             subchapter–

             (A) prior to sixty days after the plaintiff has given notice
             of such violation (i) to the Administrator, (ii) to any
             alleged violator of such requirement and (iii) to the State
             in which the violation occurs. . . .


42 U.S.C. § 300j-8(b)(1)(A). This sixty-day notice provision was modeled after §

304 of the Clean Air Amendments of 1970. See Hallstrom v. Tillamook Cty., 493

U.S. 20, 23 & n.1 (1989). A number of other federal statues contain notice

provisions also patterned after § 304, including the Resource Conservation and

Recovery Act of 1976 (“RCRA”). Id. at 22-23. In interpreting RCRA’s notice

provision, which is virtually identical to the SDWA’s notice provision, the

Supreme Court concluded that the “language of this provision could not be clearer.

. . . Under a literal reading of the statute compliance with the 60-day notice

provision is mandatory, not optional, condition precedent for suit.” Id. at 26. The

Court directed that when a plaintiff fails to comply with notice provision, “the

district court must dismiss the action as barred by the terms of the statute.” Id. at


                                          -3-
       5:16-cv-10796-JCO-MKM Doc # 136 Filed 02/07/17 Pg 4 of 5         Pg ID 6271




33.

        Plaintiffs here have not complied with the SDWA’s notice requirement.

They argue, however, that the plaintiffs in a separate action, Concerned Pastors for

Social Action v. Khouri, No. 16-10277, provided notice regarding the same

violations and that duplicate notice should not be required. Plaintiffs provide no

authority for the proposition that notice provided by separate plaintiffs in a

separate suit serves to excuse the statutory requirement. In the cases cited by

Plaintiffs, at least one plaintiff named in the action provided notice. See, e.g.,

Environmental Defense Fund v. Tidwell, 837 F. Supp. 1344, 1352-53 (E.D.N.C.

1992). None of the Plaintiffs named in this case have provided notice. Consistent

with the statute and Hallstrom, the court must dismiss Plaintiffs’ SDWA claims.

III.    State Claims

        The court will decline to exercise supplemental jurisdiction over Plaintiffs’

claims arising under state law. Generally, “if the federal claims are dismissed

before trial, . . . the state claims should be dismissed as well.” Taylor v. First of

Am. Bank-Wayne, 973 F.2d 1284, 1287 (6th Cir. 1992) (quoting United Mine

Workers v. Gibbs, 383 U.S. 715, 726 (1966)).

                                       ORDER

        Accordingly, IT IS HEREBY ORDERED that Defendants’ motions to


                                           -4-
    5:16-cv-10796-JCO-MKM Doc # 136 Filed 02/07/17 Pg 5 of 5        Pg ID 6272




dismiss Plaintiffs’ complaint are GRANTED, consistent with this opinion and

order. Plaintiff’s complaint is DISMISSED.



                                     s/John Corbett O’Meara
                                     United States District Judge
Date: February 7, 2017


      I hereby certify that a copy of the foregoing document was served upon
counsel of record on this date, February 7, 2017, using the ECF system.


                                     s/William Barkholz
                                     Case Manager




                                       -5-
